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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 18-1453V
                                      Filed: May 5, 2021

* * * * * * * * * * * * *
DONNETTE GIZA,          *                                          UNPUBLISHED
                        *
         Petitioner,    *                                          Decision on Joint Stipulation;
                        *                                          Shoulder Injury Related to
v.                      *                                          Vaccine Administration
                        *                                          (“SIRVA”); Influenza (“Flu”)
SECRETARY OF HEALTH     *                                          Vaccine.
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
* * * * * * * * * * * * *
Leah V. Durant, Esq., Law Office of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Ryan Pyles, Esq., US Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Roth, Special Master:

       On September 21, 2018, Donnette Giza [“Ms. Giza” or “petitioner”] filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleges that
she suffered a shoulder injury related to vaccine administration (“SIRVA”) after receiving an
influenza (“flu”) vaccine on October 18, 2017. Stipulation, filed May 4, 2021, at ¶¶ 1-4.
Respondent denies that the immunization caused petitioner’s injury. Stipulation at ¶ 6.



1 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision will
be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).


                                                      1
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         Nevertheless, the parties have agreed to settle the case. On May 4, 2021, the parties filed a
joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           A lump sum of $99,624.63 in the form of a check payable to petitioner, Donnette
           Giza. This amount represents compensation for all damages that would b e available
           under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision. 3

       IT IS SO ORDERED.

                                               s/ Mindy Michaels Roth
                                               Mindy Michaels Roth
                                               Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                  2
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